 

U.S. DlSTRl_CT COURT
ease 4:19-cr-00124-Y Documem 1 Filed 01/14/19 P§&§I*H¥@NF?W§¢'BHOF TEXAS

UNITED sTATES DISTRICT COURT JAN t 4 2019
NORTHERN DISTRICT oF TEXAS
FORT WORTH DIVISION cLERK u.S. oism\ct couRT

 

By:
UNITED sTATEs oF AMERICA ig Depmy
v. NO. 4;19-MJ- 04¢
BRITTANY ANN coLE (1)
cRIMlNAL coMPLAINT

 

I, Inspector K. Martin, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:

Alleged Offense:
On or about December 20, 2018, in the Fort Worth Division of the Northem
District of Texas, Brittany Ann Cole did unlawfully have in her possession
mail matter, specifically check number 75 58 in the amount of $428.28, sent
by victim E. M. W. of North Richland Hills, TX, which had been stolen,
taken, embezzled and abstracted from the United States Mail, knowing said
mail matter to have been stolen, in violation of 18 U.S.C. § 1708.
Probable Cause:
l. I am a United States Postal Inspector with the United States Postal Inspection
n Service (USPIS), and have been so employed for six years. I am currently assigned to the
Mail Theft/Violent Crimes Team for the Fort Worth Division, and I am responsible for
investigating mail theft, robberies, burglaries, access device fraud, and identity theft cases
involving the U.S. Mail.
2. On or about October 22, 2018, victim S. O. of Watauga, Texas placed check

number 5095 in the blue collection boxes outside the Watauga Post Office.

Criminal Complaint - Page l

 

Case 4:19-cr-00124-Y Document 1 Filed 01/14/19 Page 2 of 3 Page|D 2

On or about December 15, 2018, check number 5095 was fraudulently altered and paid to
the order of A. G. The check was negotiated at the Chase Bank in Roanoke, Texas.

3. On or about December 13, 2018, victim A. D. S. of Watauga, Texas placed check
number 1383 in the amount of $282.87 in the blue collection boxes outside the Watauga
Post Office. On or about December 18, 2018, victim A. D. S. discovered check number
1283 had been fraudulently altered and paid to the order of A.G. The check was
negotiated at the Chase Bank in Roanoke, Texas.

4. On or about December 20, 2018, Chase Bank of Roanoke, Texas contacted
Roanoke Police Department after a customer purporting themselves to be A. G. presented
altered check number 7558 in the amount of $428.28 in the drive-thru line. Roanoke
Police Department responded to Chase Bank and attempted to initiate a traffic stop on the
vehicle. The driver of the vehicle failed to yield and a high-speed pursuit initiated.
Roanoke Police Department made contact with the driver, Brittany Ann Cole, as she fled
the vehicle.

5. A search of the vehicle uncovered multiple personal identifiers, credit cards, social
security cards, copies of personal documents, a fishing device used to steal mail from blue
collection boxes and numerous checks. Approximately 200 checks were recovered from
the vehicle exceeding $274,000.00. Many had been altered to include the names Brittany

Ann Cole and A.G.

Criminal Complaint - Page 2

Case 4:19-cr-00124-Y Document 1 Filed 01/14/19 Page 3 of 3 Page|D 3

6. A review of the checks determined many had been stolen from blue collection
boxes. This included check number 7558 which belonged to victim E. M. W. of North
Richland Hills, Texas.

7. Based upon the foregoing facts and information, l respectfully submit that there is

probable cause to believe that Brittany Ann Nicole knowingly possessed stolen mail

l WL

K. `Martin/

U.S. Postal Inspector

matter, in violation of 18 U.S.C. § 1708.

Swom to before me, and subscribed in my presenc n \) ‘*°"` iq: 2019 at
Z`- ?¢8 p.m., at Fort Worth, Texas.

/,~»~.J;>-

JEFF . €UREToN
Unite ates Magistrate Judge

Criminal Complaint - Page 3

